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                                23-10362

             United States Court of Appeals
                  for the Fifth Circuit

                ALLIANCE FOR HIPPOCRATIC MEDICINE, et al.,
                                             Plaintiffs-Appellees,
                                    v.
                U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                                             Defendants-Appellants,
                        DANCO LABORATORIES, LLC,
                                             Intervenor-Defendant-Appellant.


              On Appeal from the United States District Court
                    for the Northern District of Texas


  BRIEF FOR STATES OF NEW YORK, ARIZONA, CALIFORNIA,
  COLORADO, CONNECTICUT, DELAWARE, HAWAI‘I, ILLINOIS,
 MAINE, MARYLAND, MASSACHUSETTS, MICHIGAN, MINNESOTA,
   NEVADA, NEW JERSEY, NEW MEXICO, NORTH CAROLINA,
    OREGON, PENNSYLVANIA, RHODE ISLAND, VERMONT,
    WASHINGTON, AND WISCONSIN, AND THE DISTRICT OF
  COLUMBIA AS AMICI CURIAE IN SUPPORT OF APPELLANTS


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  drugs/postmarket-drug-safety-information-patients-and-
  providers/questions-and-answers-mifeprex ................................. 6, 8-10

U.S. Gov’t Accountability Off., Food and Drug Administration:
  Information on Mifeprex Labeling Changes and Ongoing
  Monitoring Efforts (2018),
  https://www.gao.gov/assets/gao-18-292.pdf .......................................... 7

World Health Org., Abortion Care Guideline (2022),
  https://apps.who.int/iris/rest/bitstreams/1394380/retrieve ......... 7-8, 22

World Health Org., World Health Org. Model List of Essential
  Medicines, 22nd List, 2021: Overview (Sept. 30, 2021),
  https://www.who.int/publications/i/item/WHO-MHP-HPS-
  EML-2021.02 .......................................................................................... 7




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          INTRODUCTION AND INTERESTS OF AMICI

     Mifepristone is a safe, reliable, and effective method for early

pregnancy termination and, in combination with the drug misoprostol,

is the only drug approved by the U.S. Food and Drug Administration

(FDA) for medication abortion. 1 Since the FDA approved the drug in

2000, more than five million individuals have used mifepristone to

safely terminate pregnancies or manage miscarriages.

     Amici States of New York, Arizona, California, Colorado, Connecti-

cut, Delaware, Hawai‘i, Illinois, Maine, Maryland, Massachusetts,

Michigan, Minnesota, Nevada, New Jersey, New Mexico, North

Carolina, Oregon, Pennsylvania, Rhode Island, Vermont, Washington,

and Wisconsin, and the District of Columbia submit this brief in

support of defendants’ appeal from the district court’s order purporting

to retroactively “stay” the effective date of the FDA’s approval of




     1  Mifepristone was initially approved under the brand name
Mifeprex®. Amici generally refer to the drug by its generic name,
mifepristone, and the term “medication abortion” to refer to the method
of pregnancy termination using medication. The term “chemical abor-
tion” used throughout plaintiffs’ complaint and briefs and adopted by
the district court is not an accepted medical term.
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mifepristone twenty-three years after that date has passed. 2 Each of the

amici States has an important interest in protecting the health, safety,

and rights of its residents, including an interest in ensuring safe access

to essential reproductive health care. 3 The continued availability of

mifepristone is critical to safeguarding that interest.

     Amici States further have a unique perspective on how strongly

the public interest weighs against the preliminary relief granted by the

district court. The FDA’s determination that mifepristone is safe and

effective comports with the overwhelming medical consensus developed

over more than two decades of use in the United States and globally.

The agency’s subsequent regulatory actions, including authorizing the

generic version of the medication, permitting qualified clinicians other




     2  The Supreme Court granted a stay of the district court’s order in
its entirety (ECF No. 201) after a divided panel of this Court stayed the
order in part (ECF No. 183).
     3 Several amici States are plaintiffs in Washington v. U.S. Food &
Drug Administration, No. 23-cv-03026 (E.D. Wash.), which challenges
certain restrictions on mifepristone. The district court in that case has
preliminarily enjoined the FDA from altering the status quo with respect
to mifepristone in those States. See Order Granting in Part Pls.’ Mot.
for Prelim. Inj., Washington v. U.S. Food & Drug Admin., No. 23-cv-
3026 (E.D. Wash. Apr. 7, 2023), ECF No. 80.


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than physicians to dispense the drug, and removing requirements that

the drug be dispensed in person, are also backed by overwhelming

evidence. Mifepristone is an essential component of comprehensive

reproductive health care, accounting for a majority of first-trimester

abortions performed in the U.S. and also representing the recommended

treatment for early pregnancy loss. The availability of mifepristone has

proven critical to amici States in improving abortion access, particularly

in low-income, underserved, and rural communities which experience

higher rates of maternal mortality and morbidity, and where nonmedi-

cation abortion alternatives (e.g., “procedural abortion”) may be

unavailable.

     Conversely, upholding the district court’s order could result in

substantial nationwide harms. Curtailing access to the safest and most

common medication used for first-trimester abortion will result in more

abortions taking place later in pregnancy, further increasing costs and

medical risks. Many in need of abortion care will be forced to undergo

procedural abortions, which although safe, are more invasive, more

expensive, and less available than medication abortion. Others will

resort to abortion outside of the regulated health care system or will be


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prevented from accessing abortion entirely. In addition, disrupting

access to mifepristone in States where abortion remains lawful would

place a potentially unbearable strain on already overburdened health

care systems and cause broad repercussions, worsening pregnancy-

related morbidity and mortality, impeding delivery of other essential

medical care, and deepening entrenched health disparities.

     In addition, the district court’s ruling would create extraordinary

uncertainty in the pharmaceutical industry and may jeopardize the

development and approval of thousands of innovative drugs and treat-

ments. The district court’s disregard for the FDA’s drug-approval

process creates an untenable risk to amici States, whose health care

systems rely on the stability and integrity of the FDA’s regulatory

regime and the continued availability of FDA-approved drugs to prevent

and treat a range of conditions and diseases.

     Finally, amici States have a strong interest in safeguarding their

sovereign decisions to protect their residents’ ability to obtain abortions

in the wake of Dobbs v. Jackson Women’s Health Organization, 142 S.

Ct. 2228 (2022). Although the Supreme Court concluded that the U.S.

Constitution does not protect the right to obtain an abortion, it emphat-


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ically endorsed the States’ authority to safeguard access to abortion for

their residents, explaining that it was “return[ing] the issue of abortion

to the people’s elected representatives.” Id. at 2243. Allowing the district

court’s order to stand could eviscerate the sovereign decisions of many

amici States by disrupting access to medication abortion in States

where abortion remains lawful.




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                             ARGUMENT

                                POINT I

           MEDICATION ABORTION IS A SAFE AND EFFECTIVE
           METHOD FOR TERMINATING PREGNANCIES

     The experience of many of the amici States confirms what

numerous studies have demonstrated: mifepristone is extraordinarily

safe and effective. Since its approval in 2000, an estimated 5.6 million

women in the U.S. have used mifepristone to terminate a pregnancy. 4

According to current estimates, medication abortion now accounts for

more than half of all abortions performed in the U.S. 5

     The determination that mifepristone is safe and effective is based

on ample, high-quality evidence gleaned from more than a quarter

century of clinical research and practice in the U.S. and globally. 6 For



     4See U.S. Food & Drug Admin., Mifepristone U.S. Post-Marketing
Adverse Events Summary through 06/30/2022 (n.d.).
     5 Rachel K. Jones et al., Guttmacher Inst., Medication Abortion
Now Accounts for More than Half of All US Abortions (last updated Dec.
1, 2022).
     6  See U.S. Food & Drug Admin., Questions and Answers on
Mifepristone for Medical Termination of Pregnancy through Ten Weeks
Gestation (last updated Jan. 4, 2023) (hereinafter “Questions &
Answers”); U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch.,
Risk Evaluation and Mitigation Strategy (REMS) Memorandum: REMS
                                                              (continued on the next page)


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example, a recent comprehensive survey of abortion care in the U.S. by

the National Academies of Sciences, Engineering, and Medicine

concluded that medication abortion using mifepristone is 96.7%

effective and that complications are rare, i.e., “occurring in no more

than a fraction of a percent of patients.” 7 The World Health

Organization includes the mifepristone/ misoprostol regimen in its

guidelines for abortion care, 8 and has long included the combination

regimen in its Model List of Essential Medicines—i.e., those medicines

“that satisfy the priority health care needs of a population” and “are

intended to be available in functioning health systems at all times.” 9 And

the leading national medical associations have staunchly defended



Modification (Mar. 29, 2016); see also U.S. Gov’t Accountability Off.,
Food and Drug Administration: Information on Mifeprex Labeling
Changes and Ongoing Monitoring Efforts (2018).
     7 Nat’l Acads. of Scis., Eng’g & Med., The Safety and Quality of
Abortion Care in the United States 10, 55 (2018) (hereinafter “NASEM,
Safety and Quality of Abortion Care”); accord Mary Gatter et al.,
Efficacy and Safety of Medical Abortion Using Mifepristone and Buccal
Misoprostol Through 63 Days, 91 Contraception 269, 270 (2015).
     8 See World Health Org., Abortion Care Guideline xxix, 16-17, 67-
68 (2022) (hereinafter “WHO, Guideline”).
     9World Health Org., World Health Org. Model List of Essential
Medicines, 22nd List, 2021: Overview (Sept. 30, 2021).


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mifepristone’s safety record, characterizing it as “thoroughly studied . . .

and conclusively safe.” Br. of Medical & Public Health Societies as

Amici Curiae in Supp. of Def.-Appellants at 8 (Apr. 11, 2023), ECF No.

111. The FDA’s approval of the generic version of mifepristone in 2019

rested on the same body of evidence, supplemented with additional

safety data gleaned from nearly two additional decades of use. 10

     The FDA’s subsequent decisions to lift certain restrictions on

mifepristone’s use were similarly supported by robust data, aligning the

conditions for use more closely with clinical protocols and recommenda-

tions by leading medical associations. Among other steps, the FDA

approved labeling changes expanding the approved period of use for

mifepristone from seven to ten weeks of pregnancy. 11 And the FDA elimi-


     10 U.S. Food & Drug Admin., Questions & Answers, supra; U.S.
Food & Drug Admin., Abbreviated New Drug Application Approval
Letter for Mifepristone Tablets, 200 mg, ANDA No. 091178 (Apr. 11,
2019).
     11 See U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Rsch,
Supplemental Approval Letter for Mifeprex, NDA No. 020687/S-020
(Mar. 29, 2016); Am. Coll. of Obstetricians & Gynecologists (ACOG),
Medication Abortion up to 70 Days of Gestation, 102 Contraception 225,
225 (2020) (hereinafter “ACOG, Medication Abortion”); WHO, Guideline,
supra, at xxix, 16-17, 67-70 (endorsing mifepristone’s use as safe up to
12 weeks of gestation).


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nated the requirement that mifepristone be dispensed only by physi-

cians, permitting prescribing by qualified advanced practice clinicians—a

step long supported by major medical associations. 12

     In 2020, the FDA further suspended enforcement of the in-person

dispensing requirement on an emergency basis in response to the Covid-

19 pandemic—a change for which many amici States had advocated. 13

The FDA permanently suspended the in-person dispensing requirement

in 2023. 14 These changes opened the door for medication abortion to be




     12  See, e.g., ACOG, Comm. on Health Care for Underserved
Women, Comm. Op. No. 815, Increasing Access to Abortion, 136
Obstetrics & Gynecology 107 (2020); Am. Pub. Health Ass’n, Pol’y No.
20112, Provision of Abortion Care by Advanced Practice Nurses and
Physician Assistants (Nov. 1, 2011). The term “advanced practice
clinicians” is generally understood to include nurse practitioners,
certified nurse-midwives, and physician assistants. See NASEM, Safety
and Quality of Abortion Care, supra, at 102.
     13 See Letter from Att’ys Gen. to Alex M. Azar II, Sec’y, U.S. Dep’t
of Health & Hum. Servs., and Stephen Hahn, Comm’r, U.S. Food &
Drug Admin. (Mar. 30, 2020). ACOG, supported by many amici States,
further brought suit in federal court seeking temporary suspension of
the REMS during the pandemic. See ACOG v. U.S. Food & Drug
Admin., Nos. 20-1784, 20-1824, 20-1970, 2021 WL 538307 (4th Cir. Feb.
12, 2021).
     14 Letter from Patrizia Cavazzoni, Dir., Ctr. for Drug Evaluation &
Rsch., to Graham Chelius, Soc’y of Fam. Plan., Cal. Acad. of Fam.
Physicians (Dec. 16, 2021); U.S. Food & Drug Admin., Questions &
                                                              (continued on the next page)


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offered via telemedicine and dispensed by certified retail pharmacies,

consistent with state law. 15 The conclusion that medication abortion can

be provided safely outside of a brick-and-mortar setting has been

repeatedly endorsed by leading medical associations, reinforced by

clinical practice experience during the pandemic, and borne out by

many amici States’ experience with telemedicine prescribing for women

within their borders. 16




Answers, supra. The 2023 determination was issued after the amended
complaint was filed, and plaintiffs have not further amended or other-
wise asked that it be enjoined. Thus, the validity of the 2023 REMS is
not properly before the district court or this Court.
     15 See U.S. Food & Drug Admin., Risk Evaluation and Mitigation
Strategy (REMS) Single Shared System for Mifepristone 200 mg (last
modified Jan. 2023); U.S. Food & Drug Admin., Questions & Answers,
supra.
     16 See NASEM, Safety and Quality of Abortion Care, supra, at 57-
58; Erica Chong et al., Expansion of a Direct-to-Patient Telemedicine
Abortion Service in the United States and Experience During the
COVID-19 Pandemic, 104 Contraception 43, 44 (2021); Ellen R. Wiebe
et al., Comparing Telemedicine to In-Clinic Medication Abortions
Induced with Mifepristone and Misoprostol, 2 Contraception X 2:100023
(2020); Daniel Grossman et al., Effectiveness and Acceptability of
Medical Abortion Provided Through Telemedicine, 118 Obstetrics &
Gynecology 296 (2011); Daniel Grossman & Kate Grindlay, Safety of
Medical Abortion Provided Through Telemedicine Compared With In
Person, 130 Obstetrics & Gynecology 778 (2017).


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     Plaintiffs’ misleading and cherry-picked allegations regarding the

purported dangers of medication abortion conflict with amici States’

experience and with the clinical evidence. The relatively few adverse

events associated with mifepristone are well within an acceptable range

for FDA approval. Indeed, mifepristone is as safe as or safer than

numerous other types of FDA-approved drugs and products with fewer

restrictions on their use, including Viagra (four times safer), penicillin

(two times safer), and even acetaminophen. 17 The anecdotes on which

plaintiffs rely do not remotely approach the substantial showing that

would be required to overrule the agency’s expert determinations,

whether as to the initial approval, authorization of the generic medica-

tion, or the elimination of restrictions the agency has over time deemed

medically unjustified.

     Nor have plaintiffs offered any valid evidence that practice

changes resulting from the FDA’s regulatory actions since 2016 have



     17 See Advancing New Standards in Reprod. Health, Issue Brief:
Analysis of Medication Abortion Risk and the FDA Report “Mifepristone
U.S. Post-Marketing Adverse Events Summary through 12/31/2018”
(Apr. 2019); see also Br. of Medical & Public Health Societies as Amici
Curiae in Supp. of Def.-Appellants, supra, at 8.


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resulted in any increase in adverse outcomes. Given the widespread use

of mifepristone in amici States, if plaintiffs’ allegations regarding the

risk associated with lifting these restrictions were accurate, those

harmful effects would be impossible to hide at the population level. But

amici States have seen no such effects—and in fact, the opposite is true.

     Indeed, mifepristone’s safety record is so conclusive that major

medical associations, as well as several amici States, have advocated

that the REMS designation be eliminated altogether. For example, the

American Academy of Family Physicians has asserted that lifting the

REMS is necessary “to conform to current evidence,” and the American

College of Obstetricians and Gynecologists has characterized the desig-

nation as “outdated” and medically unjustified. 18 And seventeen amici

States are plaintiffs in a lawsuit asserting that the FDA’s decision in

2023 to retain certain aspects of the REMS was arbitrary and

capricious because it singles out an exceptionally safe drug for uniquely




     18 See Letter from Michael L. Munger, Bd. Chair, Am. Acad. of
Fam. Physicians, to Norman Sharpless, Acting Comm’r, U.S. Food &
Drug Admin. (June 20, 2019); ACOG, Position Statement: Improving
Access to Mifepristone for Reproductive Health Indications (Mar. 2021).


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burdensome restrictions. 19 But regardless of whether the restrictions

that remain are medically justified, clinical evidence overwhelmingly

supports the FDA’s determination to lift selected limitations imposed

under the pre-2016 REMS.

     In this case, allowing the district court to unilaterally substitute

its judgment for the FDA’s determinations—in defiance of the scientific

evidence and in a manner that unduly burdens rather than assures safe

access—contravenes the mandate of the FDA 20 and undermines the

integrity of the FDA-approval process, with devastating consequences

for the industry and the public. 21 Providers and patients in amici States

rely on the availability of thousands of FDA-approved drugs to treat or

manage a range of medical conditions experienced by their residents,




     19 Am. Compl. at 4 ¶ 5 (Mar. 9, 2023), Washington, No. 23-cv-
03026, ECF No. 35.
     20   See 21 U.S.C. § 355-1(f).
     21 See Br. of Pharmaceutical Companies, Executives & Investors
as Amici Curiae in Supp. of Applicants at 2, U.S. Food & Drug Admin.
v. Alliance for Hippocratic Med., Nos. 22A901, 22A902 (U.S. Apr. 14,
2023).


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including asthma, HIV, infertility, heart disease, diabetes, and more. 22

For each of these drugs, the FDA determined based on significant

clinical data that the benefits of the drug outweighed any known and

potential health risks. 23 Permitting the district court’s order to stand

risks upending this well-established regulatory framework and

frustrates reliance interests in the stability of that system shared by

amici States, manufacturers, patients, and providers alike. 24




     22 See U.S. Food & Drug Admin., Fact Sheet: FDA at a Glance
(Nov. 2021).
     23  U.S. Food & Drug Admin., Development & Approval Process
(last updated Aug. 8, 2022).
     24See Br. of Pharmaceutical Companies, Executives & Investors
as Amici Curiae in Supp. of Applicants, supra, at 2.


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                               POINT II

           MEDICATION ABORTION IS INDISPENSABLE TO
           REPRODUCTIVE HEALTH CARE, PARTICULARLY IN
           UNDERSERVED COMMUNITIES

     Medication abortion is an essential component of reproductive

health care. For more than two decades, residents in amici States have

relied upon the availability of mifepristone to provide their residents

with the numerous advantages medication abortion offers, including

increased privacy, flexibility, and patient autonomy. 25 Mifepristone is

also the standard treatment in many instances of early pregnancy

loss. 26 And medication abortion has proven particularly crucial in

promoting access for individuals in rural and underserved communities.

     First, medication abortion promotes access to abortion as early as

possible, when it is safest and least expensive. Medication abortion has

contributed to an increase in the proportion of pregnancy terminations

taking place at less than six weeks gestation, when risks are lowest,

freeing up in-clinic appointments for later-stage or more complicated

     25See Br. of Medical & Public Health Societies as Amici Curiae in
Supp. of Defs.-Appellants, supra, at 15-18.
     26  Kurt Barnhart, Medical Management of Miscarriage with
Mifepristone, 396 Lancet 737 (2020).


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care. 27 The associated decreases in expense and complication rates help

lower health care costs and ease burdens on the system overall.

     Second, medication abortion offers added flexibility for both

patients and providers and has eased constraints on availability. Unlike

procedural abortion, which is performed in a clinical setting, medication

abortion does not require any special equipment and can safely be

administered in a variety of contexts and practice areas—for example,

in a private physician’s office, an ob-gyn or family practice setting, or

even at home with appropriate medical supervision. 28 Between 2011

and 2014, provision of medication abortion in nonspecialized clinics and

physicians’ offices increased by 26% and 20%, respectively; in several

cases, such a facility was the sole abortion provider in its geographic




     27 See NASEM, Safety and Quality of Abortion Care, supra, at 5, 28-
29; see also Advancing New Standards in Reprod. Health, The Average
Out-of-Pocket Cost for Medication Abortion Is Increasing, New Study
Confirms (Apr. 11, 2022).
     28  See NASEM, Safety and Quality of Abortion Care, supra, at 10.
Because the in-person dispensing requirement for misoprostol was lifted
in the 2016 REMS, it had long been standard practice for patients to
take the second course of the regimen at home or in another setting of
their choice, offering patients valuable control over location and timing.
See id. at 56; ACOG, Medication Abortion, supra.


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area. 29 And given the escalating violence at abortion clinics, 30 the

availability of medication abortion within such mainstream settings has

offered valuable privacy and security for patients and providers.

     The FDA’s approval of the generic version of the drug in 2019 has

significantly expanded access to abortion services, and, as with introduc-

tion of generics generally, promises to significantly lower costs. 31 In

addition, the FDA’s decision to extend prescription authority to

clinicians other than physicians has eased the acute shortage of

providers in States authorizing advanced practice clinicians such as

nurse practitioners and physician assistants to offer abortion services,

allowing physicians to focus on more complex cases and other critical

services without compromising patient health. 32



     29 See Rachel K. Jones & Jenna Jerman, Abortion Incidence and
Service Availability in the United States, 2014, 49 Persps. on Sexual &
Reprod. Health 17, 22 (2017).
     30See Nat’l Abortion Fed’n, 2021 Violence and Disruption Report
(June 24, 2022); U.S. Dep’t of Just., Recent Cases on Violence Against
Reproductive Health Care Providers (last updated Oct. 18, 2022).
     31 See Anna North, America’s First Generic Abortion Pill,
Explained, Vox (Aug. 20, 2019).
     32Am. Pub. Health Ass’n, Pol’y No. 20112, supra; AP Toolkit, State
Abortion Laws and Their Relationship to Scope of Practice (n.d.).


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     Finally, eliminating the requirement for in-person dispensing has

proven particularly critical in reaching low-income communities,

communities of color, and rural and underserved areas where barriers to

abortion access are most acute. 33 Eliminating this requirement has

permitted clinicians to offer medication abortion services entirely

remotely, by conducting patient intake, examination, prescription, and

follow-up via telephone or videoconference. In addition, the FDA’s

recent changes to the REMS have allowed patients to obtain the

medication through mail-order pharmacies, and as of January 2023,

through properly certified retail pharmacies. 34 According to 2020 data,




     33 See Liza Fuentes, Guttmacher Inst., Inequity in US Abortion
Rights and Access: The End of Roe Is Deepening Existing Divides (Jan.
17, 2023).
     34  Plaintiffs’ assert that the federal Comstock Act prohibits the
distribution of mifepristone by mail. The U.S. Department of Justice’s
Office of Legal Counsel disagrees. See Application of the Comstock Act
to the Mailing of Prescription Drugs That Can Be Used for Abortions,
46 Op. O.L.C. __, pp. 1-2 (Dec. 23, 2022). Although a discussion of the
Comstock Act is beyond the scope of this brief, amici States point out
that the district court’s interpretation of the Comstock Act would have
potentially boundless effects on medical care delivery, preventing distri-
bution of a host of devices, surgical instruments, and equipment used in
obstetrics and gynecology and beyond, as well as numerous drugs
routinely used to treat countless diseases and conditions.


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89% of U.S. counties had no abortion clinic and 38% of women of

reproductive age resided in such a county. 35 Another study showed 17%

of people who had abortions traveled 50 miles or further to obtain care,

and rural patients were eight times as likely as urban patients to travel

more than 100 miles for abortion care (36% versus 4%, respectively). 36

The many practical and cost barriers associated with obtaining an

abortion increase with distance traveled; these barriers include

childcare needs, missed days of work and resulting lost income, lack of

insurance, and travel costs and logistics. 37 Such barriers are steepest

for low-income people and people of color, and for many, the barriers

place abortion out of reach altogether. 38



     35 Jones & Jerman, Abortion Incidence and Service Availability in
the United States, 2020, supra, at 20.
     36 Liza Fuentes & Jenna Jerman, Distance Traveled for Abortion
in the United States and Reasons for Clinic Choice, 28 J. Women’s
Health, 1623, 1627 (2019).
     37 See id. at 1623-24; Sarah Varney, Long Drives, Air Travel,
Exhausting Waits: What Abortion Requires in the South, KFF Health
News (Aug. 3, 2021); Jenna Jerman et al., Barriers to Abortion Care and
Their Consequences for Patients Traveling for Services: Qualitative Find-
ings from Two States, 49 Persps. on Sexual & Reprod. Health 95 (2017).
     38 See Jill Barr-Walker, Experiences of Women Who Travel for
Abortion: A Mixed Methods Systematic Review, 14 PLOS ONE e0209991,
                                                               (continued on the next page)


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     Because of medication abortion’s potential to greatly mitigate

these barriers, many amici States have implemented policies and

invested significant resources to expand its availability. For example, in

Maine, which has among the highest rates of rural residents in the U.S.,

a major clinic chain has since 2016 made medication abortion available

at its 16 health centers via telemedicine. 39 Several amici States,

including California, Massachusetts, and New York, have recently taken

steps to make medication abortion available at public university campus

health centers. 40 And many States have enacted legislation intended to

protect providers of abortion, including those who provide care via

telemedicine, against disciplinary consequences, loss of malpractice

insurance, or legal action for performing or assisting in the performance


at 19-21 (Apr. 9, 2019); Elizabeth A. Pleasants et al., Association Between
Distance to an Abortion Facility and Abortion or Pregnancy Outcome
Among a Prospective Cohort of People Seeking Abortion Online, 5 JAMA
Network Open e2212065, at 10 (2022).
     39 See Kanya D’Almeida, Telemedicine Abortion Is Coming to
Maine, Rewire News Grp. (Feb. 29, 2016).
     40 See Stephanie Hughes, With Roe v. Wade Overturned, Colleges
Prep to Provide Abortion Medication, Marketplace (Oct. 10, 2022); Press
Release, N.Y. Off. of the Governor, Governor Hochul Announces Steps to
Strengthen New York State’s Safe Harbor for Abortion Care (Jan. 10,
2023).


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of lawful abortion care. 41 The availability of mifepristone, and the

elimination of unnecessary restraints on its use and distribution, have

thus enabled many amici States to vastly improve access to abortion

care and further their broader health equity goals.


                               POINT III

             THE DISTRICT COURT’S ORDER WOULD HAVE
             DEVASTATING NATIONWIDE CONSEQUENCES

     If permitted to take effect, the district court’s order would lead to

massive disruptions and negative consequences in the delivery of repro-

ductive health care nationwide. Suspending the FDA’s initial 2000

approval of mifepristone would threaten manufacturing and distribution

processes, impeding one of the most readily available and reliable

methods for pregnancy termination during the first trimester of preg-

nancy. It would also seriously compromise treatment for miscarriages,




     41See, e.g., Act of July 29, 2022, Ch. 127, 2022 Mass. Acts; Press
Release, Mass. Off. of the Governor, Governor Healey Announces
Immediate Action to Protect Access to Medication Abortion in
Massachusetts (Apr. 10, 2023); Act of July 1, 2022, Ch. 50, 2022 N.J.
Laws; S. 1213B, 246th Sess. (N.Y. 2023); Press Release, N.Y. Off. of the
Governor, supra.


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leading to needless increased risks. 42 Even a return to the pre-2016

REMS and labeling (as contemplated by this Court’s initial stay ruling)

would revert the country to a time when medication abortion was signif-

icantly more difficult to access than procedural abortion. This would

inflict massive harms on amici States and their residents and thwart

the goals of States wishing to protect rather than restrict abortion

access.

     Added obstacles to mifepristone’s availability would drive

numerous individuals seeking abortion to turn to other methods.

Providers would be limited to alternative protocols for medication

abortion, such as using misoprostol only, which although accepted

under clinical guidelines when the mifepristone/misoprostol regimen is

unavailable, is not the preferred treatment plan and would be unlikely

to meet existing demand for mifepristone. 43 Many patients would seek

procedural abortions—which, although safe, are unnecessarily invasive


     42See Br. of Physicians for Reproductive Health as Amicus Curiae
in Supp. of Defs-Appellants at 6-7, 10-12 (Apr. 11, 2023), ECF No. 63.
     43 See WHO, Guideline, supra, at xxix, 67-71; ACOG, Medication
Abortion, supra; Soc’y of Fam. Plan., Misoprostol Only Is Safe and
Effective (March 16, 2023).


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procedures for those for whom medication abortion would have been

recommended, and are generally more costly to provide and to obtain. 44

Travel distances to obtain care would increase dramatically, further

compounding costs and delays, and resulting in more later-gestation

procedures, increased health risks, and adverse mental health

outcomes. 45 Others desperate for care will seek abortion medications

through online services or overseas pharmacies and self-manage their

abortions outside of a medical setting. 46 Many who are unable to afford




     44 See, e.g., Br. for Amici Curiae the City of New York et al. at 18
(Apr. 11, 2023), ECF No. 117 (estimating that procedural abortion costs
five times as much as a medication abortion to provide).
     45 See NASEM, Safety and Quality of Abortion Care, supra, at 116;
Fuentes & Jerman, supra, at 1623; Barr-Walker, supra, at 17; Rachel
K. Jones & Jenna Jerman, Guttmacher Inst., Time to Appointment and
Delays in Accessing Care Among U.S. Abortion Patients (Aug. 2016).
     46  See Abigail R.A. Aiken et al., Requests for Self-Managed
Medication Abortion Provided Using Online Telemedicine in 30 US
States Before and After the Dobbs v. Jackson Women’s Health Organiza-
tion Decision, 328 JAMA 1768, 1768-70 (2022); Abigail R.A. Aiken et al.,
Safety and Effectiveness of Self-Managed Medication Abortion Provided
Using Online Telemedicine in the United States: A Population Based
Study, 10 The Lancet Reg’l Health - Americas 4 (2022); Daniel Grossman
& Nisha Verma, Self-Managed Abortion in the US, 328 JAMA 1693,
1693-94 (2022).


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those added costs will be denied access to abortion altogether and forced

to carry unwanted pregnancies to term. 47

     Further, restricting the availability of medication abortion in

States where abortion remains lawful would exacerbate the drastic

reduction in access across large swaths of the country in the wake of

Dobbs. Abortion is currently unavailable in over a dozen States where

bans or near-total restrictions are in effect or subject to pending litiga-

tion, and extremely limited in several more. 48 These States are home to

approximately 22 million women of childbearing age, representing




     47  See Fuentes & Jerman, supra, at 3; Kirsten M. J. Thompson et
al., Association of Travel Distance to Nearest Abortion Facility with Rates
of Abortion, 4 JAMA Network Open e2115530, at 6-8 (2021); Katrina
Kimport, Abortion After Dobbs: Defendants, Denials, and Delays, 8 Sci.
Advances eade5327, at 1-2 (Sept. 2022).
     48  Soc’y of Fam. Plan., #WeCount Report 2 (Oct. 28, 2022) (“Since
the Dobbs decision, in states with bans or severe restrictions, there
were 7,870 fewer abortions in July and 8,040 fewer in August, for a
cumulative total of 15,910 fewer people who had abortions in those
states.”). Numerous state bans or restrictions are subject to pending
litigation. See Ctr. for Reprod. Rts., After Roe Fell: Abortion Laws by
State.


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almost one third of the total population of women ages 15-49. 49 At least

62 clinics have been shuttered since the end of June 2022, and travel

time to obtain abortion has increased significantly across the U.S.50 And

new data suggests that in the six months following Dobbs, “many

thousands of pregnant people living in states where abortion is banned

and restricted were unable to obtain abortion care.” 51 Many amici

States have already experienced a steep rise in demand at clinics as

out-of-state patients flood into their States to receive necessary care,

stretching them past their capacity and dramatically increasing wait

times for care for patients from both within and outside of their

States. 52 These impacts are expected to worsen as the many new legal



     49 See Marielle Kirstein et al., Guttmacher Inst., 100 Days Post-
Roe: At Least 66 Clinics across 15 US States Have Stopped Offering
Abortion Care (Oct. 6, 2022).
     50 See id.; Caitlin Myers et al., Abortion Access Dashboard (last
updated Mar. 23, 2023); Benjamin Rader et al., Estimated Travel Time
and Spatial Access to Abortion Facilities in the US Before and After
the Dobbs v Jackson Women’s Health Decision, 328 JAMA 2041, 2043-
45 (2022).
     51   Soc’y of Fam. Plan., #WeCount Report (Apr. 11, 2023).
     52See id.; Margot Sanger-Katz et al., Interstate Abortion Travel Is
Already Straining Parts of the System, N.Y. Times (July 23, 2022);
Angie Leventis Lourgos, Abortions in Illinois for Out-of-State Patients
                                                                (continued on the next page)


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risks created by Dobbs, disruptions in residency training, and an

anticipated wave of additional state-level restrictions further depress

access nationwide. 53

     Even a partial restoration of medically unnecessary restrictions on

access to mifepristone could result in substantial burdens on already

overtaxed health care systems and diminish many of the benefits

medication abortion offers. For example, reinstating the physician-only

dispensing requirement for mifepristone would shift physicians’ limited

time and attention away from more complex and later-term procedures,

and restoring the in-person dispensing requirement would eliminate




Have Skyrocketed, Chi. Trib. (Aug. 2, 2022); Matt Bloom & Bente
Berkland, Wait Times at Colorado Abortion Clinics Hit 2 Weeks as Out-
of-State Patients Strain System, KSUT (July 28, 2022); Oriana Gonzalez
& Nicole Cobler, Influx of Out-of-State Patients Causes Abortion Delays,
Axios (Sept. 12, 2022); Cindy Carcamo, A California Desert Town Has
Long Been an Abortion Refuge for Arizona and Mexico. Now It’s
Overwhelmed, L.A. Times (July 20, 2022).
     53 See Ferit Nirappil & Frances Stead Sellers, Abortion Ban States
See Steep Drop in OB/GYN Residency Applicants, Wash. Post (Apr. 21,
2023); Jan Hoffman, OB-GYN Residency Programs Face Tough Choice
on Abortion Training, N.Y. Times (Oct. 27, 2022); Julia Strasser et al.,
Penalizing Abortion Providers Will Have Ripple Effects across Pregnancy
Care, Health Affs. (May 3, 2022) (hereinafter “Strasser et al., Ripple
Effects”); Kimport, Abortion After Dobbs, supra, at 1-2.


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access through telemedicine, cancelling out its significant utility in

reaching rural and underserved communities and further straining

providers’ ability to handle the spiking demand in the wake of Dobbs. 54

The cumulative consequences would be catastrophic, worsening the

provider shortage and further increasing delays and denials of abortion

care.

        Limited access to abortion care is in turn associated with

numerous harms, including poor birthing and infant health outcomes,

higher rates of poverty, and lower educational attainment for both

parents and children. 55 And because carrying a pregnancy to term is 14




       Amelia Thomson-DeVeaux, Virtual Abortions Surged After Roe
        54

Was Overturned—But the Texas Ruling Could Change That,
FiveThirtyEight (Apr. 11, 2013).
        See Diana G. Foster, The Turnaway Study: Ten Years, a
        55

Thousand Women, and the Consequences of Having—or Being Denied—
an Abortion (2021); Diana G. Foster et al., Socioeconomic Outcomes of
Women Who Receive and Women Who Are Denied Wanted Abortions in
the United States, 108 Am. J. Pub. Health 407, 411-13 (2018); Heidi D.
Nelson et al., Associations of Unintended Pregnancy with Maternal and
Infant Health Outcomes: A Systematic Review and Meta-Analysis, 328
JAMA 1714, 1714-29 (2022).


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times more risky to the pregnant person than early abortion, 56

curtailing access to medication abortion nationwide would likely lead to a

steep rise in birth-related complications and deaths. 57 Estimates suggest

that those rates would rise by 21% overall should a total abortion ban

go into effect nationwide, purely due to the increased risks associated

with bearing a child, with Black women experiencing the highest

estimated increase of 33%. 58 Indeed, restrictive abortion laws have long

been linked to higher morbidity and mortality rates. 59 Impeding access




     56 Elizabeth G. Raymond & David A. Grimes, The Comparative
Safety of Legal Induced Abortion and Childbirth in the United States,
119 Obstetrics & Gynecology 215, 216-18 (2012).
     57 See Amanda Jean Stevenson et al., The Maternal Mortality
Consequences of Losing Abortion Access (June 29, 2022) (unpublished
manuscript); Amanda Jean Stevenson, The Pregnancy-Related Mortal-
ity Impact of a Total Abortion Ban in the United States: A Research Note
on Increased Deaths Due to Remaining Pregnant, 58 Demography 2019,
2019-28 (2021).
     58 See Stevenson et al., The Maternal Mortality Consequences of
Losing Abortion Access, supra.
     59  See 2 Ibis Reprod. Health & Ctr. for Reprod. Rts., Evaluating
Priorities: Measuring Women’s and Children’s Health and Well-Being
against Abortion Restrictions in the States 16-18 (2017); Guttmacher
Inst., Induced Abortion Worldwide (Mar. 2018).


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to medication abortion would therefore worsen a mortality crisis already

disproportionately faced by Black women. 60

     These outcomes are not merely hypothetical. In States instituting

bans on abortion in the wake of Dobbs, resulting delays and denials of

care have led to dire harms for pregnant individuals, endangering their

mental and physical health, their future fertility, and their lives. 61

These include being forced to forgo cancer treatment, developing sepsis,

being left bleeding for days after incomplete miscarriage, enduring risk

of rupture due to ectopic pregnancy, and being forced to continue

carrying a nonviable fetus. 62




     60 See Elyssa Spitzer et al., Ctr. for Am. Progress, Abortion Bans
Will Result in More Women Dying (Nov. 2, 2022); Nelson et al., supra, at
14-29; Samantha Artiga et al., Kaiser Fam. Found., What Are the
Implications of the Overturning of Roe v. Wade for Racial Disparities?
(July 15, 2022).
     61 See Anjali Nambiar et al., Maternal Morbidity and Fetal
Outcomes among Pregnant Women at 22 Weeks’ Gestation or Less with
Complications in 2 Texas Hospitals After Legislation on Abortion, 227
Am. J. Obstetrics & Gynecology 648 (2022); Eugene Declercq et al.,
Commonwealth Fund, The U.S. Maternal Health Divide: The Limited
Maternal Health Services and Worse Outcomes of States Proposing New
Abortion Restrictions (Dec. 14, 2022).
     62 See Jessica Valenti, I Write About Post-Roe America Every Day.
It’s Worse than You Think, N.Y. Times (Nov. 5, 2022); Pl.’s Mot. for TRO
                                                               (continued on the next page)


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     These harmful outcomes would cause ripple effects across the

entire health system. In many amici States, the same facilities

providing abortion also offer other critical services, such as pre- and

post-natal care, family planning, cancer screening, and other critical

forms of preventative health care. Delays resulting from increased

demand for abortion procedures (in lieu of medication abortions) will

obstruct access to all care offered at those facilities, inevitably resulting

in higher rates of unintended pregnancy and sexually transmitted

infections, barriers to early detection and treatment for breast, ovarian,

and testicular cancers and chronic diseases, and worsened overall health

outcomes. 63 Underserved groups, including women of color, low-income

women, people with disabilities, and LGBTQ individuals, will be

hardest hit. 64 And increasingly poor overall health outcomes will impose




and Prelim. Inj., Preterm Cleveland v. Yost, No. A2203203 (Ohio C.P.
Hamilton County Sept. 2, 2022); Complaint, Zurawski v. Texas, No. D-
1-GN-23-000968 (Dist. Ct. Travis County Mar. 6, 2023).
     63   See Strasser et al., Ripple Effects, supra.
     64 See id.; Theresa Chalhoub & Kelly Rimary, Ctr. for Am.
Progress, The Health Care System and Racial Disparities in Maternal
Mortality (May 10, 2018); Christine Dehlendorf et al., Disparities in
Family Planning, 202 Am. J. Obstetrics & Gynecology 214 (2010);
                                                                 (continued on the next page)


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substantial costs on amici States and local governments. 65 By contrast,

in amici States’ experience, the alleged strains on the health care

system purportedly caused by the FDA’s regulatory decisions, which the

district court accepted as fact, have simply never materialized.

     In addition, the district court’s decision would undermine the

development and availability of thousands of drugs relied on by amici’s

residents to treat and prevent a range of conditions. The market

stability provided by the FDA’s drug-approval regime is crucial to

fostering and developing new drugs and maintaining ready access to

available drugs. 66 The district court’s analysis undermines this regime

in ways that will inevitably chill research and development of new

drugs and therapies. This, in turn, could deprive amici States of


Lindsey Dawson et al., Kaiser Fam. Found., LGBT+ People’s Health and
Experiences Accessing Care (July 22, 2021).
     65 See Br. for Amici Curiae the City of New York et al., supra, at
15-18; Br. of Local Governments as Amici Curiae in Supp. of the
Government’s & Intervenor’s Requests for a Stay Pending Appeal at 2,
15-16 (Apr 11, 2023), ECF No. 125.
     66 See Br. of Pharmaceutical Research & Manufacturers of America
as Amici Curiae in Supp. of Applicants at 20, U.S. Food & Drug Admin.
v. Alliance for Hippocratic Med., Nos. 22A901, 22A902 (April 14, 2023);
Br. of Pharmaceutical Companies, Executives & Investors as Amici
Curiae in Supp. of Applicants, supra, at 17-18.


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innovative new products that would improve the overall health and

well-being of their residents. Likewise, the potential removal of other

comparably essential, safe and effective drugs from the market under

the framework used by the district court to invalidate mifepristone’s

approval could have catastrophic consequences for amici States, who

rely on access to a range of drugs to safeguard and advance the public

health.

     In finding that nationwide preliminary relief was in the public

interest, the district court ignored the considerable harms identified by

amici States as well as by medical practitioners, the pharmaceutical

industry, and others. Instead, the court elevated the policy preferences

of plaintiffs and States that have banned or restricted abortion. But the

Supreme Court recognized in Dobbs that “the people of the various

States may evaluate” the interests of a woman who wants an abortion

and the interests in fetal life differently, Dobbs, 142 S. Ct. at 2257, and

mandated that “the authority to regulate abortion must be returned to

the people and their elected representatives,” id. at 2279. In this case,

the district court disregarded Dobbs by promoting the policy interests of

one group of States over all others and ordering relief that could impose


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drastic consequences on States that have made the different but equally

sovereign determinations to promote access to abortion care.


                                  CONCLUSION

       This Court should reverse the district court’s order granting

plaintiffs’ motion for preliminary relief.

Dated: New York, New York
       May 1, 2023

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                   CERTIFICATE OF COMPLIANCE

Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure, Ester
Murdukhayeva, an attorney in the Office of the Attorney General of the State
of New York, hereby certifies that according to the word count feature of the
word processing program used to prepare this brief, the brief contains 6,440
words and complies with the typeface requirements and length limits of
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                                         . /s/ Ester Murdukhayeva           .
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                       CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was filed
electronically with the Court’s CM/ECF system on May 1, 2023. Service
will be effectuated by the Court’s electronic notification system upon all
parties and counsel of record.

Dated: New York, New York
       May 1, 2023

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                                           .
